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  1   Erika Bailey Drake (SBN 248034)
  2   edrake@drakeanddrake.com
      Roger D. Drake (SBN 237834)
  3   rdrake@drakeanddrake.com
  4   DRAKE & DRAKE, P.C.
      23679 Calabasas Road, Suite 403
  5
      Calabasas, California 91302
  6   Telephone: 818.438.1332
  7   Facsimile: 818.475.1880
      Attorneys for Plaintiff
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  9
                             UNITED STATES DISTRICT COURT
 10
                            CENTRAL DISTRICT OF CALIFORNIA
 11
 12
      OLGA CAMARENA,                       )
                                           ) CASE NO.: 2:20-cv-00372-JVS-PD
 13         Plaintiff,                     )
 14                                        )
      v.                                   )
 15                                        ) ORDER
 16   ANDREW SAUL,                         ) AWARDING EAJA FEES
      Commissioner of Social Security,     )
 17
                                           )
 18         Defendant.                     )
 19                                        )
 20
            Based upon the parties’ Stipulation for Award of EAJA Fees (“Stipulation”),
 21
            IT IS ORDERED that EAJA fees are awarded in the amount of ONE
 22
      THOUSAND SIX HUNDRED FIFTY DOLLARS AND 00/100 ($1,650.00) subject
 23
      to the terms of the stipulation.
 24
 25
      DATED: October 15, 2020
 26                                        HON. PATRICIA DONAHUE
 27                                        UNITED STATES MAGISTRATE JUDGE
 28
